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Counsel to PlaintiffRDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11

 ROCHESTER DRUG CO-OPERATIVE, INC.                             Case No. 20-20230 (PRW)

                              Debtor.



 Advisory Trust Group, LLC, as trustee of the RDC              Adv. Proc. No. 22-02015 (PRW)
 LIQUIDATING TRUST,

                              Plaintiff,
          V.

 EMERGENT DEVICES, INC f/k/a ADAPT
 PHARMA, INC., ADAPT PHARMA, INC.,

                              Defendants.


               STIPULATION OF DISMISSAL OF ADVERSARY PROCEEDING


                  Plaintiff Advisory Trust Group, LLC, in its capacity as the Liquidating Trustee of

the RDC Liquidating Trust, and defendant Emergent Devices, Inc. £1k/a Adapt Pharma, Inc.,

(together, the "Parties"), have entered into a settlement agreement that resolves the claims

asserted in the above-captioned adversary proceeding. Accordingly, the Parties hereby stipulate,


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pursuant to Rule 4 l(a)(l )(A)(ii) of the Federal Rules of Civil Procedure, made applicable to this

adversary proceeding by Rule 7041 of the Federal Rules of Bankruptcy Procedure, to the

dismissal with prejudice of this adversary proceeding, with each party to bear its own attorneys'

fees and costs.



  STIPULATED AND AGREED:

               27 2022
  Dated: April _,                                       Dated: April.2f, 2022

  PACHULSKI STANG ZIEHL & JONES LLP

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             jspomerantz@pszjlaw.com

  Counsel to PlaintiffRDC Liquidating Trust


SO ORDERED

DATED:                       , 2022
           Rochester, New York                       HON.PAULR. WARREN
                                                     United States Bankruptcy Judge




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